          Case 6:20-cv-00291-CEM-DCI
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         IN THE CIRCUIT COURT OF THE 9 TH
         JUDICIAL CIRCUIT, IN AND FOR
         ORANGE COUNTY, FLORIDA

         CASE NO.:


         DATAMAXX APPLIED TECHNOLOGIES,
         INC., a Florida corporation,

                Plaintiff,
         vs.

         BROWN & BROWN, INC., d/b/a HALCYON
         UNDERWRITERS, INC., EARL BACON,
         AGENCY, INC., and CHUBB CUSTOM
         INSURANCE COMPANY,

              Defendants.
         _____________________________________/

                                               COMPLAINT

                Plaintiff,   DATAMAXX      APPLIED     TECHNOLOGIES,          INC.,   (hereinafter,

         “Datamaxx”), by and through its undersigned counsel hereby sues Defendants, BROWN

         & BROWN, INC., d/b/a HALCYON UNDERWRITERS, INC., EARL BACON AGENCY,

         INC., and CHUBB CUSTOM INSURANCE COMPANY, and all facts being extent and

         material hereto, alleges:

                                     INTRODUCTORY ALLEGATIONS

                1.       This is an action for damages in excess of Fifteen Thousand Dollars

         ($15,000.00).

                2.       BROWN & BROWN, INC., d/b/a HALCYON UNDERWRITERS, INC.,

         (“Halcyon”), is a for profit corporation authorized to do business in the State of Florida

         whose registered agent for service of process is CT Corporation System, 1200 South

         Pine Island Road, Plantation, Florida 33324. According to BROWN & BROWN, INC.’s


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filings with the United States Securities and Exchange Commission, Halcyon is listed as

an “indirect subsidiary” of BROWN & BROWN, INC.             Furthermore, other corporate

documents describe Halcyon as a “Brown & Brown Operational Brand Name,” and lists

Halcyon as a component within BROWN & BROWN, INC.’s “Wholesale Brokerage

Segment.”

       3.     EARL BACON AGENCY, INC. (the “Bacon Agency”), is a for profit

corporation authorized to do business in the State of Florida whose registered agent for

service of process is Robert K. Bacon, 3131 Lonnbladh Road, Tallahassee, Florida

32308.

       4.     CHUBB CUSTOM INSURANCE COMPANY (“Chubb”), is a corporation

authorized to transact insurance in this state, and is authorized to do, and doing business

throughout the State of Florida.

       5.     Datamaxx is a Florida corporation that provides advanced communications,

data access, information sharing, enterprise intelligence, and access control solutions to

the law enforcement, criminal justice, public safety, and security industries.

       6.     Datamaxx customers consist of, among others, security companies along

with local, state and federal agencies including the S.A.F.E. Management, Whelan Event

Services, Federal Bureau of Investigation, City of Miami Police Department, Louisiana

State University, U.S. Army Corps of Engineers,          and U. S. Office of Personnel

Management.

       7.     Datamaxx customers use the company’s software to conduct thorough,

real-time background checks and access control solutions for a wide variety of needs.

       8.     Datamaxx brings this complaint for declaratory relief pursuant to Chapter

86 of the Florida Statutes against its insurer, Chubb, seeking among other things a


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declaration from this Court estopping Chubb from denying a defense of the claims brought

against Datamaxx (explained in greater detail herein), and refusing to ultimately indemnify

Datamaxx should it be found liable for such claims.

       9.     Datamaxx further brings this complaint against Chubb, Halcyon and the

Bacon Agency, pleading in the alternative and alleging Chubb, Halcyon and the Bacon

Agency’s negligent procurement of insurance coverage on Datamaxx’s behalf as well as

Chubb, Halcyon and the Bacon Agency’s negligent misrepresentations related thereto.

       10.    On or about December 22, 2011, Datamaxx entered into a purported

Development and License Agreement (the “DLA”) with Gold Type Business Machines,

Inc. (“GTBM”). Pursuant to the terms of the DLA, Datamaxx and GTBM agreed to jointly

develop, market and sell a product called “Greenlight.”

       11.    On or about May 8, 2014, Datamaxx and GTBM entered into a Confidential

Settlement Agreement (the “Settlement Agreement”) pertaining to prior litigation brought

by GTBM against Datamaxx filed in the United States District Court for the District of New

Jersey captioned Gold Type Business Machines, Inc. v. Datamaxx Applied Technologies,

Inc., and LSQ Funding Group, L.C. (Case No. 2:13-cv-05727-CCC-MF)(hereinafter the

“First GTBM Case” or the “First Case”).

       12.    At the time GTBM filed the First Case, Datamaxx was insured through

various commercial insurance policies with American International Group (“AIG”).

Following the commencement of the First GTBM Case, Datamaxx promptly put AIG on

notice of the claims being made by GTBM and promptly forwarded the operative papers

commencing the First Case. Upon receiving the operative papers, AIG refused to both

defend and indemnify Datamaxx for the claims arising under the First GTBM Case.




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      13.    Despite AIG’s initial denial of coverage, Datamaxx and AIG were ultimately

able to reach an amicable resolution of the coverage dispute that resulted from the

commencement of the First GTBM Case. Datamaxx originally obtained coverage under

the AIG policies by working with J. Smith Lanier & Company.

      14.    According to its website, the Bacon Agency describes itself as follows:

             The Earl Bacon Agency is one of the oldest and largest independent
             insurance agencies in North Florida. Founded in 1963 by Jane and Earl
             Bacon, the Earl Bacon Agency provides business and family insurance
             services throughout Florida. Earl Bacon Agency has an experienced and
             dedicated staff of professionals who work in all areas of insurance:
             Homeowners, Automobile, Workers' Compensation, Life, Health,
             Professional Liability, Business and Property protection.

             Bringing together a select group of the world's largest and most financially
             stable insurance carriers with specialty companies that focus principally on
             the Florida region, the Earl Bacon Agency experts are able to match your
             insurance requirements to the most appropriate market. Contact us for
             the answers to your insurance questions.

      15.    Relying on the Bacon Agency’s expertise, and hoping to avoid any future

coverage disputes with its insurers, Datamaxx met with the Bacon Agency after the

resolution of the First GTBM Case. Datamaxx’s express intentions during its meeting

with the Bacon Agency were clear - secure insurance coverage to protect Datamaxx from

claims by third parties, including but not limited to claims that Datamaxx violated the

various development and license agreements with Datamaxx’s business partners.

      16.    During their meetings, Datamaxx advised the Bacon Agency of Datamaxx’s

intention of procuring insurance coverage so as to avoid similar insurance coverage

disputes in the future that were similar to the coverage dispute with AIG wherein AIG

initially denied coverage for indemnity and defense for the First GTBM Case.

      17.    Datamaxx explained to the Bacon Agency, and later explained to Halcyon

and Chubb, that Datamaxx sought insurance coverage to ensure that should GTBM or


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other entities make subsequent and similar claims to those brought under the First GTBM

Case, Datamaxx would have coverage for the indemnity and defense of those claims.

      18.    At the recommendation of the Bacon Agency, Datamaxx was introduced to

representatives of Halcyon.    Through its meetings with Halcyon and in subsequent

communications with Chubb, Datamaxx explained the nature of its business and its use

of development and license agreements with various business partners.

      19.    Datamaxx explained at length to Halcyon, and later explained to the Bacon

Agency and Chubb, the insurance coverage issues and Datamaxx’s exposure that arose

from the First GTBM case. During its meeting with the Bacon Agency and Halcyon,

Datamaxx described and provided documentation showing the Bacon Agency and

Halcyon what Datamaxx’s litigation exposure consisted of, including but not limited to

claims similar to those brought forward in the First GTBM Case.

      20.    During its meetings with the Bacon Agency and Halcyon, Datamaxx

explained how it needed more robust coverage to insure future claims similar to those

brought under the First Arbitration Case were covered both in terms of indemnity for

liability and defense costs which would allow Datamaxx to properly defend itself.

      21.    After multiple communications between Halcyon and Datamaxx, and at all

times working in conjunction with the Bacon Agency, Halcyon proposed Datamaxx

purchase commercial insurance coverage through Chubb.

      22.    Like the Bacon Agency, Halcyon also presents itself to the public as experts

in meeting the insurance needs of customers such as Datamaxx. Halcyon’s website

explains:

             We are the next gen, hybrid wholesaler. Halcyon Underwriters’
             relationship-based model has cast a nationwide footprint with both our
             retail and carrier partners. For over 32 years, Halcyon has and continues to


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             perform as more than a traditional intermediary, offering a variety of
             coverages in the P&C and Personal Lines industries on a monoline or
             package basis. Halcyon provides market access, specialty program
             availability and competitive pricing through A-Rated, Admitted as well as
             Non-Admitted Carriers.
             Our multi-generational group of professionals provide expertise
             combined with forward looking, creative based, comprehensive and
             competitive opportunities to the over 2,500 retail partners we serve.
             Halcyon’s front-line underwriting, risk selection, portfolio management,
             responsiveness and continued partner education opportunities drive our
             retailers to profitably grow their business.
             Halcyon’s underwriting practices, client retention, continued organic
             growth, data analytics, risk management and efficiency deliver profitable
             performance results for our carrier partners in both soft and hard markets
             earning Halcyon preferred designations with most of our carrier partners.


      23.    During the Bacon Agency and Halcyon’s assessment of Datamaxx’s

insurance needs, the two put Datamaxx in direct contact with Chubb underwriters,

allowing Datamaxx to ask specific questions regarding Datamaxx’s litigation exposure

and Chubb’s ability to provide coverage.

      24.    As a result of Datamaxx’s communications with the Bacon Agency, Halcyon

and Chubb, Datamaxx was presented with a proposed insurance policy to provide

indemnity and defense coverage for claims similar to those brought against Datamaxx in

the First GTBM Case.

      25.    Chubb, the Bacon Agency and Halcyon, working together, presented

Datamaxx with a “Primary Customarq Classic Insurance Program Policy” which

constituted (according to Chubb) a “Claims-Made Integrated Liability and Indemnity

Insurance” policy which was modified by a “Integrated Liability and Indemnity Insurance

Extension for Technology,” further containing a “Intellectual Property, Disclosure and

Reputation Disparagement Liability” containing an aggregate limit of coverage for




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$5,000,000, subject to a $50,000 deductible per claim (hereinafter, the “Proposed

Policy”).

        26.   After Chubb presented the Proposed Policy to Datamaxx for consideration,

Datamaxx consulted with both the Bacon Agency and Halcyon, and later consulted with

Chubb, to receive their professional opinions on whether the Proposed Policy would

provide Datamaxx with the indemnity and defense coverage Datamaxx requested and

needed following the First GTBM Case.

        27.   Both the Bacon Agency and Halcyon, and eventually Chubb, assured

Datamaxx that the Proposed Policy would provide Datamaxx with the coverage Datamaxx

needed to cover claims and defense costs arising from claims similar to the First GTBM

Case.

        28.   Indeed, before Datamaxx made a decision on whether to follow the

recommendations of the Bacon Agency and Halcyon and purchase a Chubb policy,

Datamaxx’s co-founder and CEO, Kay Stephenson, wrote to Chubb to seek written

confirmation that Datamaxx’s litigation exposure and defense costs were properly

covered for claims arising under the DLA.

        29.   On April 13, 2017, Ms. Stephenson wrote the following hypothetical to

Chubb’s underwriter’s before deciding whether to purchase Chubb’s Proposed Policy:

              Intellectual Property Laws or Rights (Except Coverage D) - This section
              appears to exclude infringement of any intellectual property rights.
              Datamaxx has numerous Development & License Agreements with
              third parties and must have proper coverage. Does this section
              exclude coverage?

        30.   Through her email, Ms. Stephenson was proposing a question to the Chubb

underwriter seeking clarification of page 31 of the Chubb Proposed Policy titled

“Intellectual Property Infringement.”


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       31.    In response to Ms. Stephenson’s questions regarding coverage, an

underwriting employee from Chubb responded: “[p]lease refer to your first question

above and the definition of IP. It’s not excluded.” See email correspondence between

Ms. Stephenson and Chubb dated April 18, 2017 (hereinafter the “Coverage Email”),

attached hereto as Exhibit “A”.

       32.    After reviewing the language of the Proposed Policy, and relying on the

written confirmation by Chubb’s underwriters that alleged violations of development and

license agreements would be covered, Datamaxx decided to purchase insurance

coverage through Chubb.

       33.    In making its decision to purchase insurance from Chubb, Datamaxx relied

upon the skill and expertise of Chubb’s agents, the Bacon Agency and Halcyon.

Datamaxx also relied upon Chubb’s underwriter employee who provided written

confirmation of Datamaxx’s coverage for liability exposure for claims like those brought in

the Second GTBM Case.

                               THE INSURANCE POLICIES

       34.    Chubb issued Datamaxx a Primary Customarq Classic Insurance Program

Policy, bearing Policy No. 3590-65-36, for the newline initial policy period of April 15, 2017

to April 15, 2018 (the “Chubb Policy” or “Policy”). A copy of the Policy is attached hereto

as Exhibit “B”.

       35.    The Policy includes Claims-Made Integrated Liability and Indemnity

Insurance coverage provided via Form 80-02-6016, as modified by Form 80-02-6017

titled Integrated Liability and Indemnity Insurance Extension for Technology. Coverage

“D”, via Form 80-02-6016 for Intellectual Property, Disclosure and Reputation




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Disparagement Liability maintains an Aggregate Limit of $5,000,000 subject to a $50,000

deductible per claim.

       36.     The Policy contains a Retroactive Date in effect for Coverage D extending

back to February 21, 2012. See Chubb Explanation of Coverages Dated December 17,

2018 (the “Denial Letter”) at p.3, attached hereto as Exhibit “C”.

       37.     In addition to the Chubb Policy, Datamaxx also purchased a second policy

written by Pacific Indemnity Company that provides commercial general liability coverage

under numbered Policy No. 3590-65-35 providing consecutive annual coverage from April

15, 2017 to April 15, 2019 (the “PIC Policy”). Id.

       38.     Finally, Datamaxx purchased a third policy written by Federal Insurance

Company (the “FIC Policy”) that provides commercial excess and umbrella coverage

under numbered Policy No. 7984-92-07, providing consecutive annual coverage from

April 15, 2017 to April 15, 2019. Id.

             THE SECOND ARBITRATION CASE & DENIAL OF COVERAGE

       39.     On October 29, 2018, GTBM filed a Statement of Claim of Arbitration

against Datamaxx seeking damages from, and an injunction against, Datamaxx for its

alleged breach of the parties’ purported DLA (the “Second GTBM Case” or the “Second

Case”). According to GTBM, Datamaxx is engaging in activities which require Datamaxx

to utilize technology, software and information which Datamaxx allegedly obtained

through the DLA. See Demand for Arbitration and Statement of Claim, attached hereto

as Exhibit “D”.

       40.     Through the Second Case, GTBM alleges that Datamaxx has breached,

and continues to breach the DLA because Datamaxx is utilizing GTBM’s technology,

software and information to compete against GTBM (among other allegations). GTBM


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 also alleges, among others, that Datamaxx harmed GTBM by causing irreparable injury

 to GTBM’s reputation, goodwill, market share and ability to exercise control over GTBM’s

 “other confidential information.”

        41.    Datamaxx immediately notified the Bacon Agency, Halcyon and Chubb of

 GTBM’s Demand for Arbitration through the American Arbitration Association. GTBM’s

 Demand for Arbitration is dated October 29, 2018 and seeks commencement of an

 arbitration proceeding in New Jersey.

        42.    At the same time that Datamaxx forwarded GTBM’s Demand for Arbitration

 to Chubb, Datamaxx’s senior management immediately began communicating with

 Chubb, requesting that Chubb confirm it would both defend Datamaxx in the arbitration

 proceeding and indemnify Datamaxx for any liability it may have resulting from the

 Second GTBM Case.

        43.    Pursuant to Chubb’s Denial Letter, “[i]t is the position of Chubb that there is

 no coverage for the AAA Demand [i.e. the Second GTBM Case] and no duties are

 triggered on behalf of Datamaxx under the Int. Tech. Policy for the allegations set forth

 by GTBM.” See Denial Letter, attached hereto as Exhibit “C” at pg. 4.

        44.    Chubb has now denied all coverage obligations under the Policy.

        45.    Pursuant to p. 4 of Chubb’s Denial Letter, Chubb denies coverage for the

 Second GTBM Case because such claims allegedly “pre-date the initial Chubb policy

 period of April 15, 2017 to April 15, 2018.” Exhibit “C” at pg. 3, p. 4.

        46.    The Second GTBM Case centers around Datamaxx’s purported breach of

 the DLA for activities that did not commence until the Fall of 2018. Through the Second

 GTBM Case, which GTBM commenced on October 29, 2018, GTBM alleges Datamaxx

 breached the DLA starting within the last six months.


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        47.    The Chubb Policy for which Datamaxx seeks coverage contains a

 Retroactive Date to February 21, 2012. By its own terms, the Policy covers the claims

 underlying the Second GTBM Case from February 21, 2012 through the present.

        48.    Chubb further denies coverage for the Second GTBM Case, arguing that

 the Policy’s definition of intellectual property does “not include any violation of any license

 granted to any insured; infringement upon any software or its source content or material;

 other computer code or its source content or material.” See Denial Letter, attached hereto

 as Exhibit “C”.

        49.    Chubb now denies Datamaxx coverage under the Policy, despite Chubb’s

 prior written confirmation to Datamaxx, which Datamaxx detrimentally relied upon, that as

 to claims alleging violations of Datamaxx’s development and licenses agreements “it’s

 not excluded.” See Coverage Email attached hereto as Exhibit “A”.

        50.    Datamaxx relied upon Chubb’s Coverage Email, which contained

 confirmation of coverage for claims alleging a violation of license agreements. Datamaxx

 relied on Chubb, in part, because Chubb’s written confirmation of coverage came from a

 Chubb underwriter.

        51.    Chubb wrote the Coverage Email to Datamaxx to induce Datamaxx to

 purchase the Policy.

        52.    At all times relevant to this action, the Bacon Agency and Halcyon acted as

 actual, statutory and/or apparent agents of Chubb when advising Datamaxx it should

 purchase the Policy.




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                                        COUNT I

                                  DECLARATORY RELIEF

       53.    Plaintiff, Datamaxx, hereby re-adopts, re-alleges and re-affirms each and

 every allegation contained in paragraphs (1) through (52) of this Complaint as though fully

 alleged herein and further alleges:

       54.    This is an action for Declaratory Relief pursuant to Chapter 86 of the Florida

 Statutes.

       55.    The subject Policy covers the claims brought against Datamaxx through the

 Second GTBM Case. Coverage D of the Policy provides in relevant part:

              Coverage D – Intellectual Property, Disclosure and Reputation
              Disparagement Liability:

              Subject to all of the terms and conditions of this insurance, we will pay
              damages and claimant costs that the insured becomes legally obligated
              to pay, including by reason of liability of another person or organization
              that you assume in an indemnity contract, for injury caused by an act
              that results in actual or suspected:

                     •    disclosure of confidential information;
                     •    intellectual property infringement; or
                     •    reputation disparagement.

              This coverage does not apply to damages, loss, cost or expense arising
              out of any actual or suspected:

                     A.      defect, deficiency, inadequacy or dangerous condition in:

                             1.     your product; or
                             2.     your service; or

                     B.      failure:

                             1.     of your product to perform; or
                             2.     to perform your service;

                             in accordance with the terms of a contract or agreement.

              Claims-Made Liability Coverage Common Provisions:

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                   A.   With respect to all claims-made coverage, this insurance
                        applies only if:

                        1.    such act was not first committed before the
                              applicable Retroactive Date shown in the Declarations
                              or after the end of the policy period; and

                        2.    a claim by a person or organization for damages for
                              such injury (including a claim for injunctive relief to
                              prevent such injury from continuing or resuming) is
                              first made against any insured:

                              a.     after the beginning of the policy period;

                              b.     before the end of the policy period; or

                              c.     during the Extended Reporting Period we
                                     provide, as described in the Extended
                                     Reporting Periods section of this policy.

                   B.   A claim will be deemed to have been made at the earliest
                        of the following times, when:

                        1.    notice of such claim is received and recorded by any
                              insured or by us;

                        2.    notice of a circumstance that correlates with such
                              claim or injury is received and recorded by us; or

                        3.    we, at our discretion, make a settlement for such
                              injury.

                   C.   All claims that correlated with an act will be deemed to have
                        been made at the time the first of such claim is deemed to
                        have been made.

                   D.   If there is no other insurance, subparagraph A.2.b. above will
                        not apply to claims made after the end of the policy period of
                        this insurance, if such claims correlate with an act and such
                        act also correlates with:

                        1.    a claim previously made during the policy period of
                              this insurance; or

                        2.    a circumstance previously notified to us during the
                              policy period of this insurance.


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                     E.     If a notice of a circumstance is received and recorded by us
                            not more than 60 days after the end of the policy period,
                            then such notice will be deemed to have been received by
                            us during the policy period.

                     F.     This coverage does not apply to any damages, loss, cost
                            or expense in connection with any claim that correlates with
                            an act, if such act correlates with any claim deemed to have
                            been made before the beginning of the policy period.

                     The most we will pay hereunder is fixed as set forth in the Limits
                     of Insurance section of this contract.

                     Our obligations hereunder is fixed as set forth in the Limits of
                     Insurance section of this contract.

                     Other than as provided in the Investigation, Defense and
                     Settlement Payments sections of this contract, we have no other
                     obligation or liability to pay sums or perform acts or services under
                     this coverage.


       56.    Pursuant to the terms of the Policy, claims made under Coverage D are

 covered pursuant to a “Retroactive Date” of February 21, 2012. The Policy contains

 numerous pages of “Definitions” within the policy, however, the Policy does not define

 “Retroactive Date” for coverages.

       57.    GTBM commenced the First GTBM case on September 26, 2013. GTBM

 commenced the Second GTBM case on October 29, 2018. Datamaxx notified Chubb of

 the Second GTBM case on October 29, 2018.

       58.    All acts Datamaxx is alleged to have committed under the Second GTBM

 case occurred after the applicable Retroactive Date shown within the Policy, that date

 being February 21, 2012.

       59.    According to GTBM’s Statement of Claim, Datamaxx’s alleged wrongful

 actions forming the basis for the Second GTBM case began September 21, 2018, several



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 years past the Retroactive Date and well within April 15, 2018 stated “Effective Date” for

 coverage under the Policy.

       60.    The Policy defines “Intellectual Property Infringement” to include:

              Intellectual Property Infringement:

              A.     means infringement upon a person’s or organization’s:

                     1.       collective mark, service mark or other trademarked logo,
                              name, slogan, title or other symbol;

                     2.       copyright; or

                     3.       Internet domain name or email address.

              B.     does not include any:

                     1.       violation of any license granted to any insured.

                     2.       infringement upon any:

                              a.     software or its source content or material;

                              b.     other computer code or its source content or
                                     material; or

                              c.     other expression, method or process designed
                                     to control or facilitate any operation
                                     or other use of any computer or other automated
                                     system.

                     3.       disclosure of confidential information or reputation
                              disparagement.

       61.    The Policy defines “Reputation Disparagement” as follows:

              Reputation Disparagement:

              A.     means

                     1.       electronic, oral, written or other:

                              a.     publication of content, information or material
                                     that libels or slanders a person or organization;



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                             b.      publication of content, information or material that
                                     disparages a person’s or organization’s goods,
                                     products or services; or

                             c.      publication, disclosure or other content, information
                                     or material that violates a person’s right of privacy
                                     or right of publicity.

                      2.     false arrest, false detention or other false imprisonment.

                      3.     malicious prosecution.

                      4.     wrongful entry into, wrongful eviction of a person from or
                             other violation of a person’s right of private occupancy of a
                             dwelling, premises or room that such person occupies,
                             if committed by or on behalf of its landlord, lesser or
                             owner.

                      5.     discrimination, harassment or segregation based on a
                             person’s protected human characteristics as established
                             by law.

               B.     does not include disclosure of confidential information or
                      intellectual property infringement.

        62.    Pursuant to its own terms, the Policy covers “oral … publication of …

 information or material that disparages a … organization’s goods, products or services.”

        63.    In each of the five (5) claims brought by GTBM in its Second Case against

 Datamaxx, GTBM alleges that Datamaxx harmed GTBM by causing irreparable injury to

 GTBM’s reputation, goodwill, market share and ability to exercise control over GTBM’s

 “other confidential information.”

        64.    “Disparage,” though not defined within the Policy, is defined as “to

 depreciate by indirect means” or to “lower in rank or reputation.”

        65.    GTBM’s claims against Datamaxx constitute claims of “Reputation

 Disparagement” triggering coverage under the Policy.




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       66.    Defendant Chubb acknowledges and admits to Datamaxx in writing that

 GTBM’s Second Case against Datamaxx “alleges harm to their reputation …” See Denial

 Letter at p. 4, attached hereto as Exhibit “C”.

       67.    The Policy contains a list of exclusions, none of which apply to the instant

 action, meaning none of the exclusions bar coverage for Datamaxx’s liability and defense

 for the claims brought in the Second GTBM Case.

       68.    In violation of the terms of the Policy, Chubb alleges the following exclusion

 applies:

              Exclusions: Intellectual Property Laws or Rights
              (Except Coverage D)

              A.     This insurance does not apply to any damages, loss,
                     cost, or expense arising out of, giving rise to or in any way
                     related to any actual, alleged or threatened:

                     1.     assertion; or

                     2.     infringement or violation;

                     by any person or organization (including any insured)
                     of any intellectual property law or right.

                     Further, this insurance does not apply to the entirety
                     of allegations in any claim or suit, if such claim or suit
                     includes an allegation of or a reference to an infringement
                     or violation of any intellectual property law or right, even
                     if this insurance would otherwise apply to any part of the
                     allegation in the claim or suit.

              B.     With respect to Coverage D only, this exclusion applies:

                     1.     unless the only infringement or violation of an
                            intellectual property law or right is
                            one that is described in the definition of intellectual
                            property infringement; and

                     2.     a Limit of Insurance applicable to intellectual property
                            infringement is shown in the declaration.



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       69.    None of the enumerated exclusions are a basis to deny both a defense as

 well as an indemnity for the claims brought against Datamaxx in the Second GTBM Case.

       70.    None of the enumerated exclusions are a basis to deny indemnity for the

 damages sought in the Second GTBM Case for claims one (1) through five (5) alleged by

 GTBM against Datamaxx in the Second GTBM case.

       71.    On the facts of this case, Datamaxx is in doubt as to its rights under the

 terms and provisions of the subject Policy and Florida law.

       WHEREFORE, Plaintiff, Datamaxx Applied Technologies, Inc., respectfully

 requests this Court:

              A)        Take jurisdiction over this matter for purposes of rendering
                        a declaratory/injunctive decree;

              B)        Having taken jurisdiction, that this Court enter an order
                        declaring that Chubb by virtue of the allegations and, the relief
                        requested in the Second GTBM Case, in light of the language of
                        the exclusions in the subject Policy, is required to both
                        defend and indemnify Datamaxx;

              C)        Enter an order that by virtue of such conduct, contrary to
                        the provisions of the aforesaid Policy, and Florida
                        law, Chubb is estopped from denying both a defense and
                        indemnifying Datamaxx;

              D)        Chubb be required to reimburse its insured, Datamaxx,
                        for any expense it has incurred thus far for defending
                        itself in the instant Second GTBM Case;

              E)        Grant both preliminary and permanent injunctive relief
                        to prevent any further harm resulting from such acts
                        and/or omissions of Chubb;

              F)        Grant such other relief as this Court deems proper,
                        pursuant to Fla. Stat. § 86.061;

              G)        Retain jurisdiction over the parties and the subject matter
                        to assess reasonable attorney’s fees and costs to Datamaxx’s
                        counsel pursuant to Fla. Stat. § 627.428, and any and all
                        penalties this Court deems just and appropriate.


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                                        COUNT II

                    NEGLIGENT FAILURE TO PROCURE AGAINST
                   DEFENDANTS BACON AGENCY AND HALCYON,
                  INDIVIDUALLY AND AS AGENTS OF DEFENDANT
                     CHUBB AND AGAINST DEFENDANT CHUBB

       Plaintiff, Datamaxx, hereby re-adopts, re-alleges and re-affirms each and every

 allegation contained in paragraphs one (1) through (52) of this Complaint as though fully

 alleged herein and further alleges:

       72.    Defendant Chubb, through its officers, principals, agents, servants and/or

 employees, had a duty to Plaintiff, Datamaxx, to exercise reasonable skill, care and

 diligence in evaluating Datamaxx’s insurance needs, and/or to advise Datamaxx that

 Chubb could not fulfill Datamaxx’s needs, if that was the case.

       73.    Likewise, Defendants Bacon Agency and Halcyon, individually and as

 officers, principals, agents, servants and/or employees of Defendant Chubb, had a duty

 to Datamaxx to exercise reasonable skill, care and diligence in evaluating Datamaxx’s

 insurance needs, and to advise and recommend the appropriate insurer and plan to serve

 such needs, and/or advise Datamaxx that they could not fulfill Datamaxx’s needs, if that

 was the case.

       74.    Further, as a general rule of insurance law, the acts of the insurer’s agent

 and facts within the knowledge of the insurer’s agent is knowledge imputed to the

 insurance carrier itself. See e.g. Gilbert v. Liberty Bankers Life Ins. Co., No. 15-21425-

 CIV, 2016 WL 1573166, at *4 (S.D. Fla. Apr. 19, 2016); Zawilski v. Golden Rule Ins. Co.,

 No. 8:10-CV-1222-T-33AEP, 2011 WL 3359658, at *4 (M.D. Fla. Aug. 4, 2011) (citing

 Almerico v. RLI Ins. Co., 716 So.2d 774, 776 (Fla. 1998)); Desantolo v. John Alden Life

 Insurance Co., 744 So.2d 1123 (Fla. 4th DCA 1999); Straw v. Associated, 728 So.2d 354



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 (Fla. 5th DCA 1999); Gaskin v. General Insurance Company of Florida, 397 So.2d 729

 (Fla. 1st DCA 1981).

       75.    Thus, Defendant Chubb also had a duty to Plaintiff Datamaxx to exercise,

 through its agents, servants and/or employees, reasonable skill, care and diligence in

 evaluating Datamaxx’s insurance needs, to advise and recommend the appropriate

 insurer to serve such needs, and/or to advise Datamaxx that Chubb could not fulfill its

 needs, if that was the case.

       76.    Defendants Chubb, individually and through its agents, servants and/or

 employees, Bacon Agency and Halcyon, as well as Bacon Agency and Halcyon in their

 individual capacities, were negligent and breached their duties by, among other things:

              a.     Failing to investigate and compare Datamaxx’s prior
                     or existing insurance coverage with the Policy sold to
                     Datamaxx;

              b.     Failing to inform and/or fully educate Datamaxx as to
                     the meaning of the terms contained in and the
                     limitations of the Policy sold to Datamaxx;

              c.     Incorrectly representing to Datamaxx that the subject
                     Policy would replace or expand prior or existing
                     insurance coverage under Datamaxx’s prior insurance
                     policy;

              d.     Failing to research whether other insurers in Florida
                     offered the insurance coverage that Datamaxx
                     specifically explained it needed and desired;

              e.     Failing to inform Datamaxx that the subject Policy
                     would or could not provide the type of insurance
                     coverage Datamaxx desired;

              f.     Failing to know and advise Datamaxx regarding
                     whether they could procure coverage that would not


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                     exclude claims like those brought forward in the
                     Second GTBM Case;

              g.     Failing to correctly represent the terms and scope of
                     the subject Policy, including exclusions, definitions
                     and endorsements;

              h.     Failing to procure a policy in accord with Datamaxx’s
                     expressed insurance needs and desires, including but
                     not limited to procuring insurance for claims such as
                     those brought forth in the First and Second GTBM
                     Cases; and,

              i.     Failing to explain to Datamaxx it could not procure the
                     insurance it sought, if that was in fact the case.


       77.    As a direct and proximate result of Chubb’s, as well as Bacon Agency and

 Halcyon, individually and as officers, principals, agents, servants and/or employees of

 Defendant Chubb, conduct stated herein, Datamaxx was caused to suffer actual,

 reasonably foreseeable, consequential and incidental damages, including, but not limited

 to:

              a.     Loss of such policy benefits;
              b.     Loss of continuing premiums;
              c.     Past and future defense costs;
              d.     Loss of use of such monies.

       78.    As a direct and proximate result of Defendant, Chubb’s negligence through

 the acts of its agents, servants and/or employees, Defendants Bacon Agency and

 Halcyon, Defendant Chubb caused Datamaxx to suffer actual, reasonably foreseeable,

 consequential and incidental damages, including but not limited to:

              a.     Loss of such policy benefits;
              b.     Loss of continuing premiums;
              c.     Past and future defense costs;
              d.     Loss of use of such monies.



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        WHEREFORE, Plaintiff Datamaxx demands judgment against Defendants Bacon

 Agency and Halcyon, individually and as officers, principals, agents, servants and/or

 employees of Defendant Chubb, as well as against Defendant Chubb, plus attorneys’

 fees against the Defendants pursuant to Florida Statutes § 627.428, interest on all

 liquidated sums, taxable costs and demand a trial by jury on all issues so triable.

                                         COUNT III

           NEGLIGENT MISREPRESENTATION AGAINST DEFENDANTS
         BACON AGENCY AND HALCYON, INDIVIDUALLY AND AS AGENTS
           OF DEFENDANT CHUBB, AND AGAINST DEFENDANT CHUBB

        Plaintiff, Datamaxx, hereby re-adopts, re-alleges and re-affirms each and every

 allegation contained in paragraphs (1) through (52) of this Complaint as though fully

 alleged herein and further alleges:

        79.    Defendant Chubb, through its officers, principals, agents, servants and/or

 employees, Defendants Bacon Agency and Halcyon, had a duty to Plaintiff, Datamaxx,

 to represent all material facts related to the procurement of Datamaxx’s Policy truthfully

 and accurately.

        80.    Likewise, Defendants Bacon Agency and Halcyon, individually and as

 officers, principals, agents, servants and/or employees of Defendant Chubb, had a duty

 to Plaintiff Datamaxx to represent all material facts related to the procurement of the

 Policy truthfully and accurately.

        81.    Further, as a general rule of insurance law, the acts of the insurer’s agent

 and facts within the knowledge of the insurer’s agent is knowledge imputed to the

 insurance carrier itself. See e.g. Gilbert v. Liberty Bankers Life Ins. Co., No. 15-21425-

 CIV, 2016 WL 1573166, at *4 (S.D. Fla. Apr. 19, 2016); Zawilski v. Golden Rule Ins. Co.,

 No. 8:10-CV-1222-T-33AEP, 2011 WL 3359658, at *4 (M.D. Fla. Aug. 4, 2011) (citing


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 Almerico v. RLI Ins. Co., 716 So.2d 774, 776 (Fla. 1998)); Desantolo v. John Alden Life

 Insurance Co., 744 So.2d 1123 (Fla. 4th DCA 1999); Straw v. Associated, 728 So.2d 354

 (Fla. 5th DCA 1999); Gaskin v. General Insurance Company of Florida, 397 So.2d 729

 (Fla. 1st DCA 1981).

       82.    As a result, Defendant Chubb had a duty to Plaintiff Datamaxx to truthfully

 represent - through its agents, servants and/or employees, Bacon Agency and Halcyon -

 all material facts related to the procurement of Datamaxx’s Policy. Likewise, Defendants

 Bacon Agency and Halcyon had an independent duty to truthfully represent all material

 facts related to the procurement of Datamaxx’s Policy.

       83.    However, Defendant Chubb, individually and through its agents, servants

 and/or employees, Bacon Agency and Halcyon, as well as Bacon Agency and Halcyon in

 their individual capacities, misrepresented material facts to Datamaxx that they: 1) knew

 were misrepresentative; 2) should have known were misrepresentative; or 3) did not know

 were true or false but represented anyway.

       84.    Specifically, Defendants Chubb, individually and through its agents,

 servants and/or employees, Bacon Agency and Halcyon, as well as Bacon Agency and

 Halcyon in their individual capacities, misrepresented, among other things, the following

 material facts to Datamaxx:

              a.     Defendants Chubb, Bacon Agency and Halcyon understood
                     Datamaxx’s liability exposure from assessing Datamaxx’s
                     business and whether the Policy provided coverage for Datamaxx’s
                     liability exposure for claims such as those brought against
                     Datamaxx in the Second GTBM Case;

              b.     Defendants Chubb, Bacon Agency and Halcyon understood
                     Datamaxx’s liability exposure and insurance needs as a result
                     of the claims brought against Datamaxx in the First GTBM Case
                     and that the Policy provided coverage for Datamaxx’s
                     liability exposure for claims such as those brought against


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                     Datamaxx in the Second GTBM Case;

              c.     Datamaxx was assured that the Policy would cover Datamaxx
                     for claims similar to those brought in the Second GTBM Case
                     without regard to language in the Policy.

       85.    Conversely, Defendants Chubb, the Bacon Agency and Halcyon failed to

 represent, among other things, the following material facts to Datamaxx:

              a.     Datamaxx was not advised that the Bacon Agency and Halcyon,
                     through their licenses and/or appointments with Chubb, could not
                     obtain, or would not obtain, an insurance policy that would cover
                     Datamaxx’s insurance needs, including coverage of claims like
                     those brought under the Second GTBM Case;

              b.     Datamaxx was not advised by Chubb that Chubb could not provide,
                     or would not provide, an insurance policy that would cover
                     Datamaxx’s insurance needs, including coverage of claims like
                     those brought under the Second GTBM Case;

              c.     Datamaxx was not advised that the Policy procured for Datamaxx
                     by Chubb, the Bacon Agency and Halcyon would not cover
                     Datamaxx’s expressly stated insurance needs, including coverage
                     for claims like those brought under the Second GTBM Case;

              d.     Datamaxx was not advised that there were other coverage
                     options available to insure Datamaxx was covered for claims
                     like those brought under the Second GTBM Case; and,

              e.     Datamaxx was not advised they could procure coverage that
                     would not exclude claims like those brought under the Second
                     GTBM Case.

       86.    Defendant Chubb, individually and through its agents, servants and/or

 employees, Bacon Agency and Halcyon, as well as Bacon Agency and Halcyon in their

 individual capacities, intended to induce Datamaxx to act on Chubb, Bacon Agency and

 Halcyon’s misrepresentations and omissions of material facts, and Datamaxx did in fact

 rely on Defendants Chubb, Bacon Agency and Halcyon’s misrepresentations and

 omissions of material facts, ultimately purchasing the Policy.




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       87.    Thus, Datamaxx justifiably relied upon Defendants Chubb, Bacon Agency

 and Halcyon’s misrepresentations and omissions of material facts to Datamaxx’s

 detriment.

       88.    As a direct and proximate result of Chubb’s, as well as Bacon Agency and

 Halcyon, individually and as officers, principals, agents, servants and/or employees of

 Defendant Chubb, conduct stated herein, Datamaxx was caused to suffer actual,

 reasonably foreseeable, consequential and incidental damages, including, but not limited

 to:

              a.     Loss of such policy benefits;
              b.     Loss of continuing premiums;
              c.     Past and future defense costs;
              d.     Loss of use of such monies.

       89.    As a direct and proximate result of Defendant, Chubb’s negligence through

 the acts of its agents, servants and/or employees, Defendants Bacon Agency and

 Halcyon, Defendant Chubb caused Datamaxx to suffer actual, reasonably foreseeable,

 consequential and incidental damages, including but not limited to:

              a.     Loss of such policy benefits;
              b.     Loss of continuing premiums;
              c.     Past and future defense costs;
              d.     Loss of use of such monies.

       WHEREFORE, Plaintiff Datamaxx demands judgment in excess against

 Defendants Bacon Agency and Halcyon, individually and as officers, principals, agents,

 servants and/or employees of Defendant Chubb, as well as against Defendant Chubb,

 plus attorneys’ fees against Defendant Chubb pursuant to Florida Statutes § 627.428,

 interest on all liquidated sums, taxable costs and demand a trial by jury on all issues so




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 triable.

        Date: March 4, 2019.

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